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                           UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF TEXAS
                                HOUSTON DIVISION
KEITH COLE, JACKIE BRANNUM, RICHARD              §
KING, MICHAEL DENTON, FRED WALLACE,              §
and MARVIN RAY YATES, individually and on        §
behalf of those similarly situated,              §             CIVIL ACTION NO.
                                    Plaintiffs,  §                4:14-cv-1698
                                                 §
v.                                               §
                                                 §
BRYAN COLLIER, in his official capacity,         §
ROBERT HERRERA, in his official capacity, and    §
TEXAS DEPARTMENT OF CRIMINAL JUSTICE, §
                                                 §
                                     Defendants. §
                PLAINTIFF CLASS REPRESENTATIVES’ RESPONSE TO
                   OBJECTIONS TO CLASS ACTION SETTLEMENT

       Plaintiff class representatives Jackie Brannum, Richard King, Michael Denton, Fred

Wallace, and Marvin Yates (“Plaintiffs”) respectfully ask the Court to overrule the objections to

the class action settlement,1 and approve the settlement of this landmark class action.




1
  The class members filing objections to the settlement are Terry Franklin (Doc. 1083),
Claybourne Baity (Doc. 1084), Ryan Gresham (Docs. 1086, 1119, & 1122), Jeffrey Dobbins
(Doc. 1089), Richard Lares (Docs. 1090 & 1142), Charles “Charlie” Malouff (Docs. 1091, 1124,
& 1151), Barry Newman (Doc. 1096), Jeffrey Robert Adams (Doc. 1100), James Gentry (Doc.
1101), Herbert Ellis (Doc. 1104), Steve Galloway (Doc. 1117), Billie Joe Britton (Doc. 1125),
William Harrison Blackwell (Doc. 1126), David Garrett (Doc. 1127), Albert Hunter (Doc. 1128),
Robert Lewis Hall (Doc. 1129), Jim Smith (Docs. 1130), Don Allen Stewart (Doc. 1131),
Stephen Parker (Doc. 1132), Albert Thomas (Doc. 1136), James E. Archer (Doc. 1137), and
John Ford (Doc. 1152). Plaintiff Keith Cole also has not signed the settlement agreement, and
objects to the settlement. Doc. 1121. Several inmates who are not class members have also filed
objections. See Docs. 1098 (James Harris), 1103 (David Weir), 1118 (Jerry Thomas), 1120
(Dusty Seaton), 1123 (Michael Walton), 1139 (Robert Voris), 1140 (Mario Martinez), and 1141
(Lakeith Amir-Sharif).
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I.      SUMMARY OF THE ARGUMENT

        The Court should overrule the objections raised by class members to approve the

landmark agreement that will protect the health and safety of over 1,300 men who are class

members, as well as many hundreds of other men who will be imprisoned at the TDCJ Pack Unit

in the future.

        First, the common objection that the class members will not be awarded damages has no

merit. Plaintiffs never sought damages, and the settlement agreement does not release any claims

for damages. Doc. 1116, p. 6. Class members can still bring their own claims for damages, and

have been advised by Class Counsel these claims are not being released. See Doc. 1089, p. 5.

        Second, much of the relief the objectors complain they did not receive could never be a

part of a civil settlement agreement (or even a remedy possible after a civil trial). The nature of a

settlement is such that the parties must reach an agreement – and the Defendants would never

agree, for example, to suffer criminal penalties to resolve the case. In the civil justice system,

even if Plaintiffs’ counsel wished to pursue criminal penalties, a criminal prosecution cannot be

instituted by private lawyers. And, of course, should an agency like the U.S. Department of

Justice choose to investigate and pursue criminal charges, the settlement would not prevent it

from doing so.

        Third, many of the objections have no relation to any alleged flaw in the settlement. That

inmates at the Pack Unit were allegedly not provided a special religiously-required meal for

Passover (Doc. 1090) or are otherwise suffering purported retaliation, while troubling if true, has

nothing to do with the dangerous temperatures at the prison or the relief provided by the

settlement. Moreover, if the Pack Unit administration was retaliating against inmates by denying

them other rights and privileges, those claims would also not be foreclosed by the settlement

(and, in fact, could be litigated before this Court as part of a breach of the settlement).


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        Finally, many of the objections are raised by prisoners who are not class members.

Inmates who are not class members lack standing to object to the settlement.

        All the objections should be overruled.

II.     STANDARD OF REVIEW

        A class action may not be settled without the approval of the Court. FED. R. CIV. PROC.

23(e); Piambino v. Bailey, 610 F.2d 1306, 1327-28 (5th Cir. 1980). The Court must ensure the

settlement is “fair, reasonable, and adequate” to protect the rights of absent class members.

DeHoyos v. Allstate Corp., 240 F.R.D. 269, 285 (W.D. Tex. 2007) (citing FED. R. CIV. PROC.

23(e)(1)(C)). “The purpose of this salutary requirement is to protect the nonparty members of the

class from unjust or unfair settlements affecting their rights.” Piambino, 610 F.2d at 1327-28.

“[T]he court cannot modify the terms of the proposed settlement; rather, the Court must approve

or disapprove of the proposed settlement as a whole.” DeHoyos, 240 F.R.D. at 286. “[T]he

power to approve or reject a settlement negotiated by the parties before trial does not authorize

the court to require the parties to accept a settlement to which they have not agreed.” Id. (citing

Evans v. Jeff D., 475 U.S. 717, 726-27 (1986)).

        Objectors thus must carry a “heavy burden of demonstrating the settlement is

unreasonable.” DeHoyos v. Allstate Corp., 240 F.R.D. 269, 293 (W.D. Tex. 2007). Appellate

review is only for “clear[] abuse of discretion” as “a product of the strong judicial policy

favoring the resolution of disputes through settlement.” Parker v. Anderson, 667 F.2d 1204, 1209

(5th Cir. 1982); Jones v. Singing River Health Servs. Found., 865 F.3d 285, 293 (5th Cir. 2017).

        All the objections in this case are filed pro se. Pro se pleadings are “to be liberally

construed” and “held to less stringent standards than formal pleadings drafted by lawyers.”

Erickson v. Pardus, 551 U.S. 89, 94 (2007). “It is the substance of the relief sought by a pro se

pleading, not the label that the [party] has attached to it, that determines its true and operative


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effect.” U.S. v. Bernal, 551 Fed. Appx. 177, 179 (5th Cir. 2014). “However, even a pro se [party]

must brief the reasons for the requested relief, including the citation to the authorities, statutes

and parts of the record relied on.” Merriman v. Porter, 251 Fed. Appx. 960, 965-66 (5th Cir.

2007). Objections must further contain “factual support,” not mere conclusory labels. Reed v.

Gen. Motors Corp., 703 F.2d 170, 173 (5th Cir. 1983); Jones v. Singing River Health Servs.

Found., 865 F.3d 285, 295 (5th Cir. 2017) (affirming order overruling settlement objections with

“no evidence” to support them).

III.     ARGUMENTS AND AUTHORITIES

         The number of dissenting class members is very small. The class is composed of 1,329

people, and only twenty-two have filed objections.2 This low rate of objections – less than two

percent of the class3 – suggests the settlement is fair. See Jones v. Singing River Health Servs.

Found., 865 F.3d 285, 300 (5th Cir. 2017) (“the number of Objectors does not demonstrate

unfairness” where 6.66% of class objected). The district court has an obligation to protect the

interests of the “silent majority” who do not object. Grant v. Bethlehem Steel Corp., 823 F.2d 20,

23 (5th Cir. 1987). Nonetheless, “[a] settlement can be fair notwithstanding [even] a large

number of class members who oppose it.” Reed, 703 F.2d at 173. In Reed, twenty-three of

twenty-seven named plaintiffs, and nearly forty percent of the class, filed objections in


2
 To date, a similarly small number have “opted out.” See Doc. 1159, Plaintiffs’ Supplement to
Motion to Approve Class Action Settlement (eighteen people have “opted out”).
3
  At the last minute, objector Charles Malouff filed a third objection signed by 47 additional
class members who had not objected before. Doc. 1151. (Though a total of 59 prisoners signed
the objection, Doc. 1151 pp. 16-19, only 53 were class members, and six had previously filed
additional objections). The substance of Mr. Malouff’s objections is addressed below. Some of
his concerns carry more weight than others (and his most significant complaint – that the trusty
dayroom was not air conditioned – has now been addressed through the settlement agreement).
But even assuming that all 47 new inmates still intended to object, the rate of objections would
still be very small – just a total of 69 inmates, or approximately five percent of the class. See
Jones, 865 F.3d at 300 (approving settlement over objection of 6.66% of class).

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opposition to the settlement, but because the agreement was fair, it was approved by the district

court and affirmed on appeal. Id. at 174. See also Ayers v. Thompson, 358 F.3d 356, 373 (5th Cir.

2004) (approving of Reed).

       Accordingly, the objections raised here should be overruled, just as similar objections in

similar prison class action litigation have been overruled to approve meaningful classwide relief.

See, e.g., Peoples v. Annucci, 180 F.Supp.3d 294, 306 (S.D.N.Y. 2016) (approving prison class

action settlement over objections).

       A.      Objections of Terry Reece Franklin, Claybourne Baity, Ryan Gresham,
               Barry Newman, Charles Malouff, Herbert Ellis, Albert Hunter, and Stephen
               D. Parker

       Mr. Franklin, Mr. Baity, Mr. Gresham,4 Mr. Newman, Mr. Malouff,5 Mr. Ellis, and Mr.

Parker filed nearly identical objections. These “Franklin Objections” are conclusory, stating they

object that the settlement is “fundamentally unfair” without explaining why. Conclusory

objections, even when filed pro se, should be overruled. Because the pro se objections are

construed liberally, however, Plaintiffs address each of them.

       First, the settlement is a fair and just resolution to this litigation. A settlement that

“substantially remedies any class injury” should be approved. Reed v. Gen. Motors Corp., 703

F.2d 170, 173 (5th Cir. 1983). This is especially true where “[r]ejection of the settlement and

further litigation is unlikely to lead to greater relief.” Ayers v. Thompson, 358 F.3d 356, 373 (5th

Cir. 2004). The settlement is a great victory for the class – it is difficult to articulate any

additional relief that reasonably could have been expected at trial (other than higher attorneys’



4
 Mr. Gresham separately filed another objection that addresses allegations he has been denied
medical attention. Doc. 1119. This objection is addressed separately below.
5
 Mr. Malouff separately filed additional objections (Docs. 1124 & 1151), which are addressed
below.

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fees). In fact, the settlement provides substantive relief to the class members beyond what the

Plaintiffs originally sought, and more than the Court awarded in its preliminary injunction.

Compare Doc. 1, p. 34 ¶ 181 (requesting “the Court enjoin Defendants to maintain a heat index

of 88 degrees or lower inside each of the Pack Unit’s housing areas”) with Doc. 989-4, Ex. 4, pp.

9-12 (providing for air-conditioned housing areas, “an air-conditioned housing assignment” for

class members throughout the TDCJ system, and transportation in air-conditioned vehicles for

subclass members). See also Doc. 737 (awarding housing in temperatures below 88°F only to

“heat sensitive” subclass, not otherwise healthy inmates). Despite this success, however, the

relief provided in the settlement “was by no means preordained,” such that the “uncertainty [of

success at trial and on appeal] was relevant to the settlement.” Reed v. Gen. Motors Corp., 703

F.2d 170, 173 (5th Cir. 1983). See also Ball v. LeBlanc, 881 F.3d 346 (5th Cir. 2018)

(overturning injunctive relief ordered in prison heat litigation).

       Second, while the Franklin Objectors correctly note the settlement “[d]oes not provide for

monetary damages” (Doc. 1083, p. 2), it also does not preclude class members from pursuing

their own claims for damages. The settlement agreement only releases claims “for equitable or

injunctive relief” – not claims for damages. Docs. 989-4, p. 19 and 1116, p. 6. This lawsuit never

sought damages – the only claims the Plaintiffs ever brought were for injunctive relief. Doc. 1, p.

35 (“Prayer for Relief”). Any class member who believes he was personally injured by the heat

at the Pack Unit can still bring a claim for damages.6 See also Doc. 1116, p. 6. Thus, as in other,

similar cases, “class members’ requests for money damages are not true objections to the

6
 Construed liberally, class member Steve Galloway (Doc. 1107) requests to be made a “named
plaintiff” to address his allegations regarding the conditions at the Pack Unit during the hurricane
evacuation. Though his motion is not styled as an objection, any claims for damages that Mr.
Galloway wishes to pursue would not be extinguished by the settlement agreement. Mr.
Galloway’s request to become a “named plaintiff” was thus denied. Doc. 1116, pp. 8-9.



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settlement agreement.” Peoples v. Annucci, 180 F.Supp.3d 294, 306 (S.D. N.Y. 2016) (approving

prison class action settlement); see also Dunn v. Dunn, 318 F.R.D. 652, 672 (M.D. Ala. Sept. 9,

2016) (overruling objections that settlement agreement in prison class action did not provide for

money damages).

       Third, the settlement undisputedly does “address constitutional … violations by the

Defendants … that occurred during the course of the case.” See Doc. 1083, p. 1. The Court found

a substantial likelihood the Plaintiffs would prove the dangerous indoor temperatures created a

substantial risk of serious harm. Doc. 737. The settlement eliminates that substantial risk by air-

conditioning the Pack Unit’s housing areas and requiring indoor temperatures remain below

88°F. Doc. 989-4, pp. 9-11.

       To the extent the objections seek criminal penalties because TDCJ officials “committed

violations of state and federal statutes … causing substantial injury and harm to many class

members,” this civil lawsuit is not the appropriate vehicle to address these allegations. Doc.

1083, p. 1. This “relief” could never be achieved in a civil settlement. Criminal violations must

be instituted by the proper public authorities, like the U.S. Department of Justice or Federal

Bureau of Investigation. Plaintiffs and Plaintiffs’ counsel, who are all private citizens, cannot

bring criminal charges. Of course, a civil settlement does not preclude the appropriate authorities

from bringing criminal charges.

       The objectors specifically complain that TDCJ officials “tamper[ed] with or destroy[ed]

documentary and physical evidence.” See, e.g., Doc. 1083, p. 1. Though TDCJ’s document

preservation practices in related cases did raise problems, the evidentiary record supporting the

settlement is voluminous and comprehensive. Hundreds of thousands of pages of documents

were reviewed, dozens of depositions were conducted, and the record was developed in thirteen




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days of adversarial evidentiary hearings. Class Counsel was well informed about the available

evidence (including evidence TDCJ failed to preserve in other cases) and the likelihood of

success at trial. Moreover, even if some hypothetical evidence was not preserved, this landmark

settlement remains historic in scope, duration, and the manner in which is protects all Pack Unit

prisoners. A fair class action settlement can even theoretically be approved in the complete

absence of discovery. See Newby v. Enron Corp., 394 F.3d 296, 306 (5th Cir. 2004). Document

destruction can undermine a settlement if the circumstances of the settlement suggest “the

unscrupulous leading the blind,” but, where, as here, a settlement is supported by a substantial

record, even the fact that some documents were destroyed does not provide grounds to deny

court approval. Jones v. Singing River Health Servs. Found., 865 F.3d 285, 300 (5th Cir. 2017).

       The Franklin Objectors allege the settlement “does not provide an acceptable remedy for

violations of [the] Court[’s] Order” (presumably the significant flaws in implementing the July

2017 preliminary injunction). But like the objections related to damages, any class member who

was injured during the preliminary injunction’s implementation can still bring his own suit.

       Fourth, the Franklin Objectors conclusorily allege that “Class counsel has become self-

serving, deficient and negligent in their responsibilities to their clients, [and] the class members.”

Doc. 1089, p. 1. This allegation is unsupported and untrue. Class Counsel visited the Pack Unit

dozens of times, spoke to hundreds of inmates, and devoted over 10,000 hours while investing

hundreds of thousands of dollars in costs to the case, without any guaranty of ever being paid or

reimbursed for any portion of this time and money. Moreover, an extremely well-qualified

mediator, the Hon. Scott Brister, “oversaw settlement negotiations … to ensure they were

conducted at arms’ length,” and ”the involvement of an experienced and well-known mediator is

also a strong indicator of procedural fairness.” Jones v. Singing River Health Servs. Found., 865




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F.3d 285, 295 (5th Cir. 2017). Ultimately, however, “adequacy of representation and adequacy

of settlement are different sides of the same question.” Ayers v. Thompson, 358 F.3d 356, 374

(5th Cir. 2004). If the settlement is fair – which it is by providing “ample relief” – then Class

Counsel performed their duties adequately. Id. Without any evidence that Class Counsel

“became self-serving,” the objection must be overruled. Jones v. Singing River Health Servs.

Found., 865 F.3d 285, 295 (5th Cir. 2017) (“Because [objectors] have pointed to no record

evidence … we reject their contention that collusion was present in the settlement negotiations”)

(citing Ayers v. Thompson, 358 F.3d 356, 369 (5th Cir. 2004)).

       The Franklin Objectors next state the settlement “discriminates against class members.”

This objection lacks any explanation of how or why the settlement is discriminatory. In fact, the

settlement provides the same base relief to all class members (housing in air-conditioned

prisons), and additional relief to the subclass members with heat-sensitive disabilities (off-site

transport in air-conditioned vehicles).

       The Franklin Objectors further object that “surprise visits/inspections need to be

conducted” to ensure TDCJ will comply with the settlement agreement. Though the settlement

agreement does not include a “surprise visit/inspection” provision, Class Counsel does retain the

ability to monitor implementation of the agreement (for which TDCJ will compensate Class

Counsel).7 Doc. 989-4, pp. 16-17. The agreement also mandates TDCJ notify Class Counsel if

the air conditioning malfunctions and the temperature rises above 88°F indoors. Id. at pp. 9-10. If

TDCJ fails to notify Class Counsel of an air-conditioning interruption, TDCJ will be in breach

and the settlement can be enforced in this Court. Id. at pp. 20-22. While not “surprise

7
  Edwards Law, Reynolds Frizzell, and the Texas Civil Rights Project have all acted as class
counsel in this matter. See Order, Doc. 473, p. 22 (appointing “counsel for named Plaintiffs” as
class counsel). Notably, only Edwards Law would retain ongoing duties of class counsel, such as
monitoring, under the settlement agreement. See Doc. 989-4, p. 5, ¶ 2.5; p. 16, ¶ 6.2.

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inspections,” these monitoring provisions are fair and adequate in a case where Class Counsel

can verify if TDCJ is complying with the bargain.

        Finally, the Franklin Objectors request “independent counsel need to be made available

to … every class member … who object[s] to this proposed settlement agreement.” See e.g. Doc.

1089, p. 3. Of course, any prisoner is free to retain his own lawyer to evaluate the settlement

agreement and provide him individualized advice on objecting or opting out. But civil rights

litigants have “no automatic right to appointment of counsel.” Castro Romero v. Becken, 256

F.3d 349, 354-55 (5th Cir. 2001). In this case, the class members have received extensive

education about their rights under the agreement. Individual notice letters and forms were

provided to each class member who is still incarcerated (see Doc. 1089), and hundreds of

prisoners attended presentations about the settlement made by Class Counsel at the Pack Unit

(where inmates had an opportunity to ask questions). See Doc. 1159, Ex. 1, Declaration of Scott

Medlock. Instead of appointing additional lawyers to represent class members, the agreement

provides that Class Counsel will “advis[e] any Class or Subclass Members who express a desire

to opt out” of their rights (and requires TDCJ to pay Class Counsel to incentivize Class Counsel

to do so). Doc. 989-4, p. 16.

       The Franklin Objections should be overruled.

       B.      Objections of Jeffrey Dobbins (Doc. 1089)

       Mr. Dobbins objects because he is concerned the settlement will prevent Pack Unit

inmates from winning parole.8 Mr. Dobbins believes “Pack 1 Unit inmates will be overlooked at

during Parole consideration.” Doc. 1089, p. 1.



8
 Notably, Mr. Dobbins’ maximum release date – the day he is guaranteed release absent any
new criminal charges – is July 18, 2018.



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        First, the facts of this litigation belie Mr. Dobbins’ concerns. Four former named

plaintiffs (Mr. Bailey, Mr. Diaz, Mr. Wilson, and Mr. Mojica) have been released on parole

while this case was pending. See Docs. 243 & 410. Two more named Plaintiffs (Mr. Brannum

and Mr. Denton) are scheduled to be released in the next few months. Over twenty class

members were granted discretionary parole and released between the date the settlement

agreement was signed and the notice letters were distributed. These gentlemen were not

“overlooked,” and actually won parole from the Pack Unit. Though every prisoner’s primary

concern is rightly “when will I go home?,” the settlement (like the litigation itself) will not

significantly alter that calculation.9

        Second, the settlement mandates all programs required for parole will be provided to

class members at air-conditioned prisons. Doc. 989-4, p. 12. If the Texas Board of Pardons and

Parole requires a prisoner to complete a program before his release (such as a substance abuse

program), the settlement guarantees the class member can attend that program in air

conditioning. In fact, a named Plaintiff (Mr. Brannum) is currently attending a parole-required

program at another air-conditioned TDCJ prison before his release. The Constitution does not

secure any inmate’s right to parole, or right to access to programs that make discretionary parole

more likely. See Madison v. Parker, 104 F.3d 765, 768 (5th Cir. 1997). But at least for those

programs necessary for parole, the settlement creates an entitlement for class members to attend

those programs in air conditioning. This is fair and adequate relief, which likely was unavailable

following a trial on the merits.




9
 Significantly, in Texas, parole decisions are not made by the Texas Department of Criminal
Justice, but by an independent entity, the Texas Board of Pardons and Parole. See TEX. GOV’T
CODE § 508.0441.

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        Finally, to the extent inmates wish to attend optional educational or vocational programs

only offered at prisons other than the Pack Unit, those programs are, unfortunately, beyond the

scope of this lawsuit. This suit has only ever sought to address the dangerous temperatures at the

Pack Unit. See Doc. 1064. Reforming dangerous conditions at other prisons is relief that was

always beyond the scope of this litigation. Certain specialized programs (like the faith-based

InnerChange Freedom Initiative, see Doc. 989-4, p. 12) were never available at the Pack Unit,

and would have always required the inmates to leave to attend them. While it is unfortunate that

this lawsuit is not an appropriate vehicle to reform TDCJ prisons generally, this reality does not

make the settlement unfair or inadequate.

        Mr. Dobbins’ objections should be overruled.

        C.     Objections of Richard Lares (Docs. 1090, 1142, & 1147)10

        Mr. Lares objects on behalf of the “Sabbatarian/Jewish” class members alleging the

settlement does not “provide protection” from retaliation by prison officers. Doc. 1090, p. 1. Mr.

Lares asks that the settlement agreement be reformed to “include a prejudice, discrimination and

retaliation protection” for inmates who are members of religious communities.

        First, retaliation based on prisoners’ exercise of other fundamental rights (including

religious practice) is already illegal. See, e.g., Woods v. Smith, 60 F.3d 1161, 1165 (5th Cir.

1995). Including “a generally phrased instruction [like] ‘don’t violate the law’” has little

“practical value” in a class action settlement agreement, and the absence of such a provision does

not make the settlement agreement inadequate or unfair. Reed v. Gen. Motors Corp., 703 F.2d

170, 173 (5th Cir. 1983).



10
  Notably, to the extent Mr. Lares raises new objections in Doc. 1142, these objections should
be overruled because Doc. 1142 is untimely as it was mailed after the April 27, 2018 deadline.
See Doc. 1142, p. 3 (dated May 2, 2018).

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        Second, the settlement provides for continuing jurisdiction of the Court, and that Class

Counsel will monitor compliance with the agreement. Doc. 989-4, p. 16. Monitoring compliance

with the agreement will ensure that Class Counsel will regularly communicate with Pack Unit

inmates, and that any true retaliation is brought to the Court’s attention. See supra p. 8, n.7 If

prisoners have been subjected to retaliatory discipline (see Doc. 1142), these complaints can be

addressed in the settlement framework.

        Third, Mr. Lares raises the same concerns about the availability of parole-related

programming at the Pack Unit as Mr. Dobbins. For the same reasons discussed above, this

objection must be overruled. See supra at § III(B).

        Fourth, Mr. Lares contends that attrition at the Pack Unit will diminish the number of

class members housed there, allowing the Texas Legislature to justify refusing to permanently air

condition the prison. This objection is too speculative to sustain. As noted above, the number of

“opt out” requests is actually very low, and the settlement agreement requires TDCJ to provide

temporary air conditioning at the Pack Unit for every summer when a class member is housed

there (if the Legislature never agrees to provide the funds for permanent air conditioning).

Critically, until all the class members are released from TDCJ custody, they will be entitled to an

air-conditioned housing assignment, whether at the Pack Unit or elsewhere. The class members

will be protected from the heat, even under Mr. Lares’ scenario. This is a fair and adequate

resolution to the suit.

        Mr. Lares’ objections should be overruled.




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        D.     Objections of Charles “Charlie” Malouff, Jr. (Docs. 1091, 1124 & 1151)11

        Mr. Malouff’s original objections largely mirror Mr. Franklin’s, but he also contends that

TDCJ staff is committing misconduct at the trusty camp (where he lives) by “intentionally

tamper[ing] with the installed, defective and deficient temporary air conditioning systems at the

trusty camp.” Doc. 1091, p. 3. Mr. Malouff claims that while the air conditioning functioned

properly to lower the temperature to 72°F during “a VIP visit from the director and his retinue,”

that after Director Collier’s departure officers raised the thermostats to “80°F or greater.” Id.

        Mr. Malouff’s allegations are not a reason to reject the settlement agreement. Mr.

Malouff is alleging, at most, a violation of the settlement agreement – which can be remedied if

verified. Doc. 989-4, p. 13. This is not a reason to reject the agreement. In re Southern Ohio

Correctional Facility, 173 F.R.D. 205, 215 (S.D. Ohio 1997). If the heat index in the trusty

camp’s housing areas were to rise above 88°F, TDCJ would be in breach of the agreement and

subject to an enforcement action.

        In Mr. Malouff’s most recent objections (Doc. 1151), he alleges that TDCJ has not (as of

yet) air conditioned the trusty camp’s dayroom. The settlement requires air conditioning the

prison’s “housing areas.” Doc. 989-4. In all the “main building” dormitories, the dayroom is a

part of the same structure as the dormitory. Inside the “main building,” air-conditioning the

dormitory necessarily includes air-conditioning the dayroom. The trusty camp is different. There,

the dayroom, where inmates are allowed to recreate, is a separate structure that was not been air

conditioned (to date). But this issue actually proves the settlement process works. After Class

Counsel raised this issue with TDCJ, the agency agreed to also air condition the trusty dayroom



11
  Mr. Parker (Doc. 1132) files objections identical to Mr. Malouff. Mr. Parker’s objections
should be overruled for the same reasons.

                                                 13
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(and is presumably taking steps to do so). 12 But even if TDCJ had not amicably (and

commendably) agreed to this solution, the settlement agreement would allow the parties to

litigate this issue (the meaning of “housing areas”) before the Court.

         Mr. Malouff raises a number of other tangential issues that he requests the Court address

before approving the settlement. Some of these concerns, such as air-conditioned housing at

prisons other than the Pack Unit where specialized programs are offered, are addressed above.

See supra at § III(B). The concerns about “medical segregation” at the Estelle Unit are addressed

below. See infra at § III(H). Other concerns are outside the scope of this litigation.13 None of

these issues make the settlement unfair or inadequate.

         Mr. Malouff also has not been “ignored” by Class Counsel. Mr. Malouff’s letters to the

Court have resulted in multiple investigations of conditions at the Pack Unit by Class Counsel,

including meetings with Mr. Malouff. See Docs. 636, 646, 654, 744. Class Counsel has

consistently attempted to speak with inmates living throughout the prison, including at the trusty

camp. Concerns raised by trusty camp inmates about air-conditioning their dayroom resulted in

quick action by Class Counsel and TDCJ to remedy this legitimate complaint. In short, the

settlement agreement does not draw any distinction between trusty camp and “main building”

inmates – they all receive the same relief.



12
     See Ex. 1, May 2, 2018 Letter from D. McCarty to Class Counsel.
13
  The condition of the water pipes (and concomitantly the alleged necessity of blood testing) are
better raised in separate litigation. Trusty camp inmates exposure to the summer heat when
walking a half mile from the camp to the “main building” is outside the scope of this lawsuit,
which addressed inmates’ exposure to heat indoors. That a dead cat was allegedly allowed to rot
in the newly installed ventilation is disturbing, but not a reason the settlement agreement is
unfair. And allegations that subclass members are being discriminated against in commissary
purchases is better addressed through the settlement mechanisms (or separate litigation) than as a
reason to reject the agreement.



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        Mr. Malouff also asks the Court to “preserve his right to suit for injury and damages”

(which the settlement does). Doc. 1124. This objection has no merit, as discussed above. See

supra at § III(A).

        Mr. Malouff’s objections should be overruled.

        E.     Objections of Jeffrey Robert Adams (Doc. 1100)14

        Mr. Adams objects because TDCJ “cares nothing for the separation of powers, court

orders and certainly nothing as meaningless as … a consent decree.” Doc. 1100, p. 1. The

gravamen of Mr. Adams’ objection is that TDCJ will not comply with any settlement (or court

order). Doc. 1100, p. 3. If this objection had merit, neither settling the case nor taking it to trial

would matter. Under Mr. Adams’ view of the agency, TDCJ would disregard both court-ordered

injunctive relief after a trial (and appeal), and a settlement agreement.

        Even under a skeptical worldview, however, the settlement agreement is a fair conclusion

to this litigation. The settlement agreement takes a “trust, but verify” position: while TDCJ has

said it will work in good faith to bring the indoor heat index below 88°F (as it appears to have

already done by installing temporary air conditioning for the upcoming summer), Class Counsel

will be compensated to continue “necessary monitoring of compliance with this agreement.”

Doc. 989-4, p. 16. The agreement also requires TDCJ to notify Class Counsel should the air-

conditioning systems fail to bring the indoor heat index below 88°F. Doc. 989-4, pp. 9-11

(describing notice requirements). This is adequate monitoring to ensure a fair settlement. Peoples

v. Annucci, 180 F.Supp.3d 294, 306 (S.D. N.Y. 2016). As Mr. Adams notes, if parties refuse to

act in good faith then settlement agreements or court orders have little meaning. But the


14
   Though Mr. Adams is currently housed at the Stiles Unit, he is a class member. Doc. 989-5, p.
1. Class Counsel has no knowledge of why Mr. Adams is not at the Pack Unit, and he provides
no insight in his objection.

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settlement agreement has enforcement teeth should Mr. Adams’ fears be realized and TDCJ act

in bad faith. In re Southern Ohio Correctional Facility, 173 F.R.D. 205, 215 (S.D. Ohio 1997)

(objections regarding prospective enforcement of settlement terms do not justify rejecting

settlement).

          Mr. Adams further questions, “why is this not a system wide class action?” Doc. 1100, p.

1. He is doubtlessly correct that similar conditions exist at numerous other TDCJ prisons. But

those other prisons are, like it or not, beyond the scope of this litigation. See Doc. 1064.

          Mr. Adams also objects that TDCJ “has used this case … to manipulate the court and

walk all over [the Ruiz litigation],” and that prisoners “will be housed in a way that is

contradiction” to the Ruiz consent decree such as “warehousing inmates in a dormitory bunk bed

setting.” Doc. 1100, pp. 1 & 2.15 This appears to be an objection to the conditions that existed at

the LeBlanc Unit during the implementation of the preliminary injunction (where “institutional

division” inmates were housed in bunk beds in a “pre-parole” facility, contrary to a provision of

the old Ruiz consent decree). But the vast majority of class members have now returned to the

Pack Unit, and live in conditions that existed before the suit was ever filed. Though Mr. Adams

is currently imprisoned at the Stiles Unit, upon information and belief, the Stiles Unit is an

“institutional division” prison that does not have the “dormitory bunk bed[s]” that concern Mr.

Adams.16 Like many other tangential issues raised by objectors (see supra at § III(C)), these

problems do not make the settlement agreement inadequate or unfair. See Peoples v. Annucci,

180 F.Supp.3d 294, 306 (S.D. N.Y. 2016).



15
  Notably, the Ruiz consent decree was terminated by operation of the Prison Litigation Reform
Act over sixteen years ago. See Ruiz v. Johnson, No. H-78-987 (S.D. Tex. June 17, 2002)
(dismissing action due to PLRA termination provision).
16
     See TDCJ, Stiles Unit Profile, http://tdcj.state.tx.us/unit_directory/st.html.

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        Thus, Mr. Adams’ further objection that Class Counsel is not qualified, and that “a

reasonable amount of experience in other factors may not exist,” has no merit. Doc. 1100, p. 2.

Class Counsel has extensive experience litigating class actions and suits against TDCJ. Doc. 473,

pp. 21-22. Class Counsel’s adequacy was not seriously challenged at the certification stage (or

raised on appeal). As noted above, Class Counsel’s adequacy is demonstrated by the significant

relief achieved in the settlement (as well as their performance to date). Supra at § III(A). See also

In re Southern Ohio Correctional Facility, 173 F.R.D. 205, 215 (S.D. Ohio 1997) (objections to

qualifications of class counsel at settlement stage are untimely where class has already been

certified).

        Likewise, Mr. Adams seeks to re-litigate the “opt out” mechanism, because the provision

will allegedly encourage TDCJ to “ma[ke] it … oppressive for anyone involved in this lawsuit.”

Doc. 1100, p. 2. He asks “who would choose the Texas heat over air conditioning?” and

speculates that all inmates who opt out would only do so when they “are being crushed by the

abuse of power and authority” and speculates “it is already happening.” Id. In fact, the actual,

very low, number of opt outs to date – just sixteen (see Doc. 1159), approximately one percent of

class members – belies Mr. Adams’ trepidation. The structure of the settlement agreement also

addresses this alleged flaw. Class Counsel will be compensated by TDCJ to advise all inmates

who seek to “opt out.” Doc. 989-4, p. 16. This creates a financial disincentive for TDCJ officials

to pressure inmates to “opt out.”

        Mr. Adams next contends that he is being denied the opportunity to participate in “the

Changes pre-release class” and being retaliated against due to false disciplinary cases. Doc.

1100, p. 3. As with the other objectors, Mr. Adams is free to litigate these allegations separately.

Moreover, these specific allegations – denial of required parole programs – are actionable under




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the agreement, which specifically requires TDCJ to provide mandatory parole programming to

class members. Doc. 989-4, p. 12.

          Mr. Adams’ objections should be overruled.

          F.     Objections of James Gentry (Doc. 1101)

          Mr. Gentry objects that portions of his personal property – typewriter ribbons with a total

value of $26.25 – were not replaced after the ribbons were damaged in the hurricane evacuation.

          The relief Mr. Gentry seeks – payment for his damaged property – is not foreclosed by

the settlement agreement. This is clearly a claim for damages, and Mr. Gentry is free to pursue

separate litigation concerning any lost property. See Doc. 1116, p. 6.

          Mr. Gentry’s objections should be overruled.17

          G.     Objections of David Weir (Doc. 1103)

          Mr. Weir alleges that the heat at the Pack Unit has caused him permanent physical

injuries. Doc. 1103. If Mr. Weir has suffered personal injuries from the heat at the Pack Unit,

however, the settlement agreement does not prevent him from pursuing claims for damages. See

supra at § III(A).

          Moreover, Mr. Weir is not a class member because he left the Pack Unit before July 19,

2017.18 Because he is not a class member, Mr. Weir has no standing to object, as his claims are



17
  Charles Williams (Doc. 1115), Cecil McDonald (Doc. 1134), Bobby Casadoes (Doc. 1138),
Robert Voris (Doc. 1139), and Patrick Ford (Doc. 1146) also filed documents with the Court
regarding damaged property. Though these inmates do not appear to object to the settlement, out
of an abundance of caution, if their filings could be construed as an objection, they should be
overruled for the same reasons as Mr. Gentry’s objections. Notably, Mr. Casadoes, Mr. Voris,
and Mr. Ford are not class members, and lack standing to object to the settlement. See Doc. 989-
5 and AAL High Yield Bond Fund v. Deloitte & Touche LLP, 361 F.3d 1305, 1311 (11th Cir.
2004).
18
     Mr. Weir is presently imprisoned at the Stiles Unit.



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not released by the agreement. AAL High Yield Bond Fund v. Deloitte & Touche LLP, 361 F.3d

1305, 1311 (11th Cir. 2004) (holding objectors excluded from the class definition had no right to

appeal settlement approval because they “are simply potential plaintiffs who have yet to litigate

any claims”). See also Doc. 1116 (denying Mr. Weir’s motion to intervene).

       Mr. Weir’s objections should be overruled.

       H.      Objections of Keith Cole (Docs. 1121 & 1133)

       Mr. Cole is a named plaintiff, and former class representative. His ten objections should

also be overruled.

       First, Mr. Cole objects that eventually dismissing the case with prejudice will prevent the

Court’s order granting the second preliminary injunction (Doc. 737) from having any

precedential “stare decisis” effect. This objection is misguided. The value of the preliminary

injunction decision for future litigants in other courts is as a trial court ruling. That value will

remain, and, as the Court has noted, these proceedings may serve as a “template” for future

litigation in similar circumstances. Hearing Tr. Mar. 21, 2018, p. 8. Moreover, settling the claims

while the interlocutory appeal challenging the preliminary injunction is still pending eliminates

any risk of appellate rulings that might curtail or contradict aspects of the Court’s decision or

analysis. Cf. Ball v. LeBlanc, 881 F.3d 346 (5th Cir. 2018). Eventual dismissal with prejudice

does not prevent other inmates from citing the law made in this case as authority.

       Second, Mr. Cole objects that the class members’ entitlement to air-conditioned housing

under the settlement agreement ends when the prisoner completes his current incarceration. Mr.

Cole is concerned that some class members will be released, then recidivate and return to TDCJ

custody, but no longer be entitled to air-conditioned housing. This objection should be overruled

for three reasons. First, the relief Mr. Cole suggests – permanent entitlement to air-conditioning




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even after release and return to prison – is likely too speculative for Plaintiffs to have achieved at

trial. See, e.g., Herman v. Holiday, 238 F.3d 660, 665 (5th Cir. 2001). The Plaintiffs would have

to prove an inmate was likely to be released from custody, then return to prison, then return to

dangerously hot housing. The law would (unfortunately) not support the relief Mr. Cole

proposes. Second, if a class member is released, and then recidivates, and then returns to TDCJ

custody, there is a reasonable chance he will return to the (now air-conditioned) Pack Unit.

TDCJ has already decided the Pack Unit is where this prisoner “belongs,” and the settlement

agreement requires TDCJ to air condition the Pack Unit. This is especially true for the elderly

and disabled inmates Mr. Cole is presumably most concerned for – the Pack Unit (unlike many

other TDCJ prisons) used by TDCJ to accommodate their disabilities. Finally, when a prisoner is

released, he ceases to be a class member. Doc. 989-4, p. 8. Thus, his claims for injunctive and

declaratory relief would not be released should he return to prison. (Or, if there were ever an

argument his claims were released, he could simply opt out and then pursue new, unreleased

claims for injunctive relief). While Mr. Cole is correct that a prisoner in this situation would face

“difficulties,” that does not make the settlement agreement unfair or inadequate.19 The notice,

confidential letter, and settlement agreement all clearly explain this provision in plain language.

This objection should be overruled.

        Third, Mr. Cole also believes the settlement agreement must include protection from

retaliation – such as from turning on the “barrel fans” while the temporary air-conditioning is

already sufficiently cooling the dormitories. See Doc. 1133, p. 2. These concerns, though worth




19
  Mr. Blackwell (Doc. 1126) raises this same objection. Mr. Blackwell’s objection should be
overruled for the same reason.



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considering, are unavailing for the same reasons Mr. Lares’ objections should be overruled. See

supra at § III(C).

        Fourth, Mr. Cole believes that, rather than entrust approval of the settlement to the Court,

the class members should vote on approving the settlement. Though this proposal would be

unorthodox, likely unmanageable, and lacking any legal support, even in classes of similar or

smaller size (and a settlement can be fair even if a majority of class members would reject it, see

supra at § III), Mr. Cole’s underlying concerns are also unpersuasive. Mr. Cole’s true concern is

that inmates have not read, or do not understand, the agreement. But all class members have had

the opportunity to read the settlement agreement, which the Court ordered be made available in

the prison’s law library. Class Counsel also provided a confidential letter (filed by an objector at

Doc. 1089, pp. 4-5), provided a copy of the class notice to every class member explaining their

rights in plain language (in English and Spanish), and conducted in-person group presentations

(with questions and answers) for all the inmates who wished to attend.20 Every effort has been

made to ensure inmates “understand the terms of the agreement.” Doc. 1159, Ex. 1, Declaration

of Scott Medlock.

        Fifth, that the date on which the class membership “locked in” changed from a draft

notice shared with the class representatives before the settlement was finalized does not mean the

representatives were “hoodwinked.” Mr. Cole’s concern is that the class is slightly smaller

because the date in the draft notice (April 15, 2018) was later than the ultimate execution date

(March 6, 2018), and that prisoners who would have otherwise been class members were

released from custody at the Pack Unit in the interim. Of course, if TDCJ were manipulating the



20
  Approximately 1,000 prisoners attended presentations where Class Counsel explained the
agreement and the rights secured for class members on April 24, 2018. A copy of the Power
Point presentation used during the sessions is attached as Doc. 1159-1, Ex. 1-A.

                                                21
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population at the Pack Unit to make the class smaller, it could have done so regardless of when

the class membership “locked in.” The agreement the five named Plaintiffs signed had the proper

execution date, the agreement was read aloud and explained to them, and the final notice was

approved by the Court (March 6, 2018, see Doc. 989-4, pp. 6).

        Sixth, Mr. Cole shares concerns that many inmates’ property damage claims have not

been resolved. This objection should be overruled for the same reason Mr. Gentry’s concerns

should be overruled. See supra at § III(F).

        Seventh, Mr. Cole’s concern about the conditions at the Estelle Unit is not a reason to

reject the settlement agreement. Inmates are entitled to bedding and other necessities while

attending overnight medical appointments. But nothing in the settlement agreement contradicts

this simple proposition. If Mr. Cole’s allegations about conditions at the Estelle Unit are true –

and Class Counsel takes such concerns seriously – this problem is more properly addressed

through Class Counsel’s monitoring role under the settlement agreement and this Court’s

continuing jurisdiction to enforce the agreement. 21

        Eighth, it is true that many defense witnesses testified that awakening inmates in the

middle of the night to conduct “wellness checks” is inappropriate.22 Such a practice is more

troubling when the condition the “wellness checks” were intended to “mitigate” – the extreme

heat – is eliminated by the air conditioning. But this issue is also more appropriately addressed



21
   Indeed, TDCJ’s counsel has already represented this practice has stopped after the issue was
raised by Class Counsel. See Ex. 1, May 2, 2018 Letter from D. McCarty to Class Counsel.
(Certain private medical information about inmates has been redacted from this letter.) Class
Counsel continues to monitor this situation.
22
  See, e.g., Warden Herrera (Doc. 755, pp. 890:12-891:4) (awakening inmates for wellness
checks prevents them from “getting enough sleep”); Assistant Director Ginsel (Doc. 756, pp. 6-
17); Dr. Rieger (Doc. 758, pp. 1458:1-12).



                                                22
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through Class Counsel’s monitoring obligations than as reason to reject the settlement agreement

and deny inmates protection from the heat.23

        Ninth, Mr. Cole claims that inmates are already experiencing retaliation after their return

to the Pack Unit. He claims that he and other inmates can no longer use the craft shop, a

privilege he and many other inmates had enjoyed for many years before departing the Pack Unit

due to the preliminary injunction. See Doc. 1121, p. 13. Choosing to enforce the rules Mr. Cole

describes now – after years of elderly and disabled inmates using the craft shop – is certainly

suspicious.24 Mr. Cole and others should not be denied a privilege they had earned due to

participation in a lawsuit that vindicated their rights. But, ultimately, this is not a reason to reject

the settlement. That TDCJ is allegedly retaliating against prisoners does not make the settlement

unfair – it means the settlement needs to be enforced, or that other avenues must remain open for

inmates to pursue these claims. The settlement keeps both options open.

        Finally, Mr. Cole asks the Court to review certain disciplinary convictions that have

prevented him from enjoying privileges he had previously earned during his many years in TDCJ

custody (principally the ability to use the craft shop). Class Counsel have raised this issue with

TDCJ’s counsel. If Mr. Cole is being retaliated against for his role as a named plaintiff, he

retains the ability to bring an action for damages

        Mr. Cole’s objections should be overruled.




23
  TDCJ’s counsel also represented this practice has stopped. See Ex. 1, May 2, 2018 Letter from
D. McCarty to Class Counsel.
24
   To the extent the “disabled” and the “able bodied” craft shops are not equivalent, this also
raises concerns that inmates with disabilities are being denied access to services and programs
available to the able-bodied.

                                                  23
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        I.     Objections of James Harris (Doc. 1098)

        Mr. Harris is not a class member, and has never been imprisoned at the Pack Unit. He

thus lacks standing to object to the settlement. See Doc. 989-5; AAL High Yield Bond Fund v.

Deloitte & Touche LLP, 361 F.3d at 1311. In fact, Mr. Harris has repeatedly sought to join the

action as a “named plaintiff,” and his requests were repeatedly denied. See, e.g., Doc. 147

(denying Harris’ motion to intervene).25 Mr. Harris never was a part of the class and is not

releasing any claims under the agreement. His objections must be overruled.

        J.     Objections of Dusty Seaton, (Doc. 1120), Michael Walton (Doc. 1123), Jerry
               Thomas (Doc. 1118), and Lakeith Amir-Sharif (Doc. 1141)

        Like Mr. Harris, objectors Mr. Seaton, Mr. Walton, Mr. Thomas, and Mr. Amir-Sharif

are not class members. Docs. 989-5 & 1064. They are currently imprisoned at the LeBlanc Unit,

and lack standing to object. AAL High Yield Bond Fund, 361 F.3d at 1311. As such, their

objections should be overruled.




25
  Mr. Harris is presently incarcerated at TDCJ’s Terrell Unit. See TDCJ, Prisoner Information
Search, https://offender.tdcj.texas.gov/OffenderSearch/index.jsp. Mr. Harris contends he was
unaware his motion had been denied because his “name was not on the order.” Doc. 1098, p. 1.
But the order clearly states “All pending motions to intervene are … denied,” that the order was
denying intervention to inmates who resided at the Terrell Unit, and that inmates who “do not
reside at the Wallace Pack Unit” would not be permitted to intervene. Doc. 147, pp. 1 & 3
(emphasis added). Mr. Harris plainly knew his motion had been denied, but that he could
separately pursue claims related to conditions at the prisons where he was incarcerated. Even if
Mr. Harris did not know his motion was denied, that is a far cry from his motion to intervene
actually being granted. At best, action by the Court was still required for intervention, but never
occurred – under Mr. Harris’ theory, at best, his motion was still pending. Moreover, “even if a
person mistakenly believes that he or she is a class member, although that person receives no
class benefit, he or she retains the ability to pursue his or her own claims.” Rowe v. E.I. DuPont
de Nemours & Co., No. 06-1810, 2011 WL 3837106, *2 n. 9 (D. N.J. Aug. 26, 2011). Likewise,
Harris was never appointed counsel – even the docket sheet he submits as “proof” that Edwards
Law was appointed to represent him shows he was designated as a pro se (not a represented)
party. Doc. 1098, p. 10.



                                                24
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        The substance of Mr. Walton, Mr. Thomas, and Mr. Amir-Sharif’s objections is that, as

prisoners with heat-sensitive medical conditions, they are at risk of transfer from the air-

conditioned LeBlanc Unit to a prison without air conditioning. Because they are presently at an

air-conditioned prison, however, their concerns are not ripe and are too speculative to require

relief at this time, even if this Court could adjudicate their claims in this litigation. See also Doc.

1116, p. 7.

        Mr. Seaton objects that the settlement agreement is unfair because he will not benefit

from it, though “the underlying litigation” allegedly resulted in him losing “my I.D. unit inmate

status and [being] deprived of my privileges, activities, and accommodations.” Doc. 1120. The

settlement agreement cannot benefit all TDCJ prisoners, as improving conditions at prisons other

than the Pack Unit was always beyond the scope of this suit. See Doc. 1064. As Mr. Seaton is not

a class member, the agreement is not unfair to him – he may still pursue his claims through

separate litigation, including complaints about conditions at the LeBlanc Unit.

        Mr. Seaton, Mr. Walton, Mr. Thomas, and Mr. Amir-Sharif’s objections should be

overruled.

        K.      Objections of Albert Hunter (Doc. 1128)

        Mr. Hunter files objections substantially similar to the Franklin Objections, but also

alleges that the settlement is unfair because of an incident in April 2018 where he was exposed to

pepper spray while unjustly segregated. That is a serious allegation, but there is no connection

between an incident where Mr. Hunter was unjustly gassed and whether the settlement

agreement is a fair resolution of this litigation. Mr. Hunter can pursue claims for damages

resulting from his incident (including damages for retaliation if he can prove the gassing was

retaliatory).




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        Mr. Hunter also alleges that Class Counsel was inadequate because they did not

adequately meet with inmates residing in the trusty camp. This is not true. Class Counsel

repeatedly met with inmates living throughout the prison, including at the trusty camp. See supra

at § III(C). In any case, the trusty camp inmates will receive the same benefit as “main building”

inmates – the opportunity to live in air-conditioned housing.

        Mr. Hunter’s objections should be overruled.26

        L.     Objections of Robert Lewis Hall (Doc. 1129), David Garrett (Doc. 1127),
               James E. Archer (Doc. 1137), and Albert V. Thomas (Doc. 1136)

        Mr. Hall, Mr. Garrett, Mr. Archer, and Mr. Thomas file identical objections complaining

that the settlement does not provide for monetary damages and does not include a retaliation

provision. These objections should be overruled for the same reasons the Franklin Objections

should be overruled. See supra at § III(A).

        M.     Objections of Jim Smith and William Harrison Blackwell (Docs. 1126 &
               1130)

        Mr. Smith and Mr. Blackwell object that the settlement agreement only requires TDCJ to

air-condition the prison’s housing areas, but not other hot parts of the prison (like the cafeteria,

the hallway where inmates stand in line to receive medication, and the gymnasium). The

evidence, however, demonstrates that inmates spend the vast majority of their time in the

housing areas (which will be air-conditioned pursuant to the agreement). Air-conditioning the

housing areas is necessary to make the prison safe. See Doc. 737. Though it would certainly be

preferable for TDCJ to air-condition all areas where prisoners spend significant periods of time,

prisons are not required to be “comfortable” – the remedy Mr. Smith and Mr. Blackwell

26
  In the same docket entry, Mr. Hunter also files a “motion seeking joinder of parties.” Doc.
1128, p. 6. This motion should be denied for the same reasons the motions addressed in Doc.
1116 were previously denied.



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effectively seek. See, e.g., Ball v. LeBlanc, 792 F.3d 584, 592 (5th Cir. 2015). The settlement

achieves a safe prison – the only relief the Plaintiffs sought in the suit.

        Mr. Smith also objects that the tap water cannot be used in his C-PAP machine. This

concern – his inability to receive sufficient amounts of “medical water” – is beyond the scope of

this litigation. Though the Plaintiffs sympathize with him (and sought to bring the water used to

“mitigate” the heat into compliance with EPA standards), Mr. Smith’s concerns about the

“gummy white substance” in the bottom of his machine after using tap water are better addressed

through vehicles other than this lawsuit. Doc. 1130, p. 2.

        Mr. Blackwell also joins Mr. Cole’s concerns about conditions at the Estelle Unit when

class members are there to attend medical appointments. Mr. Blackwell’s well-intentioned

objections should be overruled for the same reasons as Mr. Cole’s. See supra at § III(H).

        Mr. Smith and Mr. Blackwell’s objections should be overruled.

        N.      Objections of Don Allen Stewart (Doc. 1131)

        Mr. Stewart objects that the permanent assignment to air-conditioned housing should

continue for class members if they are released from custody then recidivate. This objection

should be overruled for the same reason as Mr. Cole’s objection – that the relief Mr. Stewart

proposes is beyond the scope of this lawsuit, and likely could not be secured at trial. See supra at

§ III(H).

        O.      Objections of Billy Joe Britton (Doc. 1125)

        Mr. Britton’s objections also raise the specter of retaliation. This objection should be

overruled for the same reasons discussed above. See supra at § III(A), et. seq. If TDCJ officials

are punishing inmates by turning off the air-conditioning on medical transport vehicles (as Mr.




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Britton alleges), that is a breach of the settlement agreement which can be addressed before this

Court.

         Mr. Britton also objects that parts of the prison – like the cafeteria and hallway – will not

be air-conditioned under the settlement. This objection should also be overruled for the same

reasons as discussed above. See supra at § III(N).

         Mr. Britton’s objections should be overruled.

         P.     Objections of Ryan Gresham (Docs. 1119 & 1122)

         Mr. Gresham alleges he is being denied appropriate medical attention for his sleep

disorder. But Mr. Gresham does not allege how these allegations relate to the unsafe summer

temperatures at the Pack Unit, or the relief won in the settlement agreement. These objections

should be overruled.

         Mr. Gresham further raises the same concerns as Mr. Cole and Mr. Blackwell regarding

inmates’ temporary assignment to the Estelle Unit while receiving medical attention. Though a

serious concern, this is not a matter that warrants rejecting the settlement agreement. It requires

approving the agreement so that Class Counsel can enforce the agreement (if they are otherwise

unable to amicably resolve this problem with TDCJ).

         Mr. Gresham’s objections should be overruled.

         Q.     Objections of Mario Martinez (Doc. 1140)

         Like Mr. Harris and others, Mr. Martinez is also not a class member. See Doc. 989-5.

Because he lacks standing to object to the settlement, Mr. Martinez’ objections should be

overruled. AAL High Yield Bond Fund, 361 F.3d at 1311.

         Mr. Martinez is another inmate who is not imprisoned at the Pack Unit (and never was).

He is currently imprisoned at the Hightower Unit, a prison with no connection to this litigation.




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Mr. Martinez objects that “very serious problem[s]” still exist at other TDCJ prisons. Doc. 1140,

p. 3. While this may well be true, the scope of this lawsuit has always been limited to the

conditions at the Pack Unit. See Doc. 1064. Though troubling conditions likely exist at other

TDCJ prisons, these concerns are (unfortunately) beyond the scope of this litigation.

       Mr. Martinez’ objections should be overruled.

       R.      Objections of Henry Garland (Doc. 1145)

       Mr. Garland is not a class member, and he lacks standing to object to the settlement. To

the extent his pleading is construed as an objection to the settlement, it is also untimely (as it was

signed on May 2, 2018). Doc. 1145, p. 10.

       The substance of Mr. Garland’s “objection” – the former Stringfellow Unit inmates’

continuing status as class members – was addressed previously by the Court. See Doc. 1064.

When the Stringfellow Unit inmates left the Pack Unit, they ceased to be class members as they

were no longer “currently” imprisoned at the Pack Unit, and were unlikely to return there “in the

future.” Id. To the extent Mr. Garland seeks a declaratory judgment to the contrary, objecting to

the settlement agreement is not the proper vehicle to do so.

       Mr. Garland’s objections should be overruled.

       S.      Objections of John Ford (Doc. 1152)

       Class member John Ford’s objections should be overruled. First, Mr. Ford’s objections

are untimely. Though he invokes the “mailbox rule,” his objections were signed on May 2, 2018,

after the April 27, 2018 postmark deadline to file objections. Doc. 1152, p. 3.

       Moreover, Mr. Ford raises many of the same concerns cited above by other objectors.

“Voting” on the settlement has no basis in law. See supra at § III(H). Dismissing the lawsuit with




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prejudice will not change the precedential value of the order granting preliminary relief. Id. And

relief after recidivism is not a remedy that could have likely be won at trial. Id.

          Mr. Ford’s concerns about access to the craftshop and alleged retaliation are being

seriously investigated and considered. But even if his allegations were true, concerns regarding

potential retaliation do not mean the settlement agreement is unfair or inadequate. See supra at §

III(C).

          Likewise, Mr. Ford’s concern that TDCJ officials will “us[e] retaliation and harassment

to cause [prisoners] to become … frustrated [and] opt-[out]” is not borne out by the actual very

low number of opt-outs. See supra at § III(B). Moreover, Class Counsel’s continuing role in

supervising opt-out requests will ensure the process is not abused.

IV.       CONCLUSION

          For the foregoing reasons, the objections to the class action settlement should be

overruled, and the settlement should be approved.

Dated: May 7, 2018.

                                               Respectfully submitted,

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                               CERTIFICATE OF SERVICE

       By my signature above, I certify that a true and correct copy of the foregoing has been
served on all counsel of record through the Court’s electronic filing system. A copy of the
foregoing has been placed in the mail, with first class postage, to each inmate whose objections
are described in this legal instrument.

                                            By    /s/ Jeff Edwards
                                            JEFF EDWARDS




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